 

East Baton Rouge Parish Clerk of Court

DEVORA KNIGHT on Behalf of her Minor Children NO, ___- oN C26

(PREVA
EBR2923987

 

Page 1 of 6

LAMOND ROBINSON,MONTRELL ROBINSON,
ANDREW CAPLING, and TALER MATLOCK 1974 JUDICIAL DISTRIST COURT

VERSUS
EAST BATON ROUGE PARISH

NISSAN NORTH AMERICA INCORPORATED,

ABC INSURANCE COMPANY sOSt OK & Od
GRACO CHILDREN’S PRODUCT INCORPORATED vost ox (PB.

XYZ INSURANCE COMPANY STATE OF LOUISIANA 1 yee

FILED:

 

DEPUTY CLERK” RROF COURT”

PETITION FOR DAMAGES

 

The following named party is petitioner herein, to-wit:

DEVORA KNIGHT (HEREINAFTER KNIGHT) a person of full age and majority and
domiciled in EAST BATON ROUGE, Louisiana; as Natural Tutrix of LAMOND ROBINSON
and MONTRELL ROBINSON and as Legal Guardian of ANDREW CAPLING, and TALER

MATLOCK. nee OF.

" uN 13200)

The following named parties are made defendants herein, to-wit:

(a) NISSAN NORTH AMERICA INCORPORATED, (HEREINAFTER NISSAN) a
foreign corporation authorized to do and doing business in the State of Louisiana in its
capacity as MANUFACTURER; who can be served with process through its Agent for
service of process Louisiana Secretary of State, 8585 Archives, Baton Rouge,
Louisiana 70809; pursuant to La. R. S. 13: 3474 et. seq,;

(b) ABC INSURANCE COMPANY, a foreign insurance company authorized to do
and doing business in the State of Louisiana in its capacity as insurer for NISSAN

NA INCORPORATED, who can be served with process through its Agent for
service of process CSC OF ST. TAMMANY PARISH, INC., 4600 HIGHWAY 22,
SUITE 9, MANDEVILLE, LA 70471;

(c) GRACO CHILDREN’S PRODUCT INCORPORATED (HEREINAFTER
GRACO) a foreign corporation authorized to do and doing business in the State of
Louisiana in its capacity as MANUFACTURER; who can be served with process
through its Agent for service of process Louisiana Secretary of State, 8585
Archives, Baton Rouge, Louisiana 70809; pursuant to La. R. S. 13: 3474 et. seq.;

Page 1 of 7
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EXHIBIT

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East Baton Rouge Parish Clerk of Court

(d) XYZ INSURANCE COMPANY, a foreign insurance company authorized to do
and doing business in the State of Louisiana in its capacity as insurer for GRACO,
" who can be served with process through its Agent for service of process Louisiana
Secretary of State, 8585 Archives, Baton Rouge Louisiana 70809; pursuant to La.
R. S. 13: 3474 et. seq.; and
I.
The above named defendants are jointly, severally, and solidarily liable to petitioner as a
result if the following:
Il.
This action arises out of an incident occurring in Baton Rouge, Louisiana, East Baton
Rouge Parish, on or about May 10, 2014.
IV.
Petitioner, Devora Knight was operating her 2007 Infiniti Q56 on Interstate -10 near the

intersection of LA 3246, when due to in climate weather conditions, Petitioner's vehicle left the

roadway and hit a utility pole,  Petitioner’s minor children, LAMOND ROBINSON,

MONTRELL ROBINSON, ANDREW CAPLING, and TALER MATLOCK were guest

passengers in the vehicle. During the single care collision all of the children were injured and

transported to Our Lady of the Lake Hospital with varying degrees of injuries caused by the crash.
Vv.

Petitioner, KNIGHT alleges that her 2007 Infiniti Q56 side impact reinforcement/brace did
not respond properly to the crash and failed to restrain minor children and prevent them from being
thrown about in the interior of the vehicle and causing injuries to them. Petitioner KNIGHT also
allege that the floor structure of her vehicle buckled causing her minor son, LAMOND ROBISON
to be violently thrown about the vehicle. Petitioner, KNIGHT alleges her 2007 Infiniti Q56’s
failure to properly withstand the impact caused severe injuries to her minor children individually

and collectively.

: VIL .
As a result of the above accident, petitioner, KNIGHT’S minor children, suffered and

continues to suffer multiple personal, psychological and emotional injuries of a past, present and
continuing nature.

Page 2 of 7

 

Page 2 of 6

 

 
 

East Baton Rouge Parish Clerk of Court

VII.

Petitioner, KNIGHT’s minor children, have undergone medical treatment since the

accident and will undergo further medical treatment, Petitioner’s minor children were and are

still limited from their normal activities.

VII.

The sole and proximate cause of the injuries and damages sustained by petitioner’s minor

children, was the joint, concurrent, successive, solidary, and/or several negligence of the

defendant(s) NISSAN and GRACO CHILDREN’S PRODUCT INCORPORATED, and/or the

negligence of its/their agents and employees, for whom it is/they are vicariously liable, which

negligence consisted of the following acts and/or omissions, to-wit:

a)
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failure to discover the defect, dangerous condition of the vehicle and/or car seat;

failure to properly design vehicle and/or car seat;
defective manufacturing vehicle and/or car seat;

use of improper and/or defective materials in the manufacture vehicle and/or car
seat;

failure to warn purchasers of the defects in the vehicle and/or car seat ;

failure to properly warn users/purchasers of how to safely use the vehicle and/or car .

seat;

faiture to properly manufacture vehicle and/or car seat with materials strong
enough to perform the function for which vehicle and/or car seat was sold and

designed;
failure to properly inspect the vehicle and/or car seat for defects;

failure to properly test the vehicle and/or car seat to determine whether the vehicle
and/or car seat was/were adequate and safe in construction and/or design,

distributing a vehicle and/or car seat, when the manufacturer knew or should have
known of the defective condition;

retailing the vehicle and/or car seat when the manufacturer knew or should have
known of the defective condition;

failure to warn the buyers of the defect/dangerous condition in the vehicle and/or
car seat; and

other negligence which may be proven at trial of this matter.

IX,

Petitioner, KNIGHT, itemizes her minor children's damages individually and collectively

to which they are entitled as a result of the accident and injury proximately caused by the above

Page 3 of 7

 

Page 3 of 6

 

 
East Baton Rouge Parish Clerk of Court Page 4 of 6

described negligence of defendant(s) NISSAN and GRACO, as follows, to-wit:
a) Past physical pain, suffering and discomfort
b) Past mental anguish, aggravation and annoyance
c) Disability
d) Future physical pain, suffering and-discomfort
e) Future mental anguish, aggravation and annoyance
f) Past medical expenses
g) Future medical expenses
h) Attorney fees
i) Loss of enjoyment of life
D Loss of use/function of parts of body
k) Bodily disability
bh Impairment of psychological functioning
m) Disability from engaging in recreation
X.

Petitioner strictly reserves the right to amend and supplement this petition as necessary

 

concerning damages.

XI,

On the date of the accident, ABC INSURANCE COMPANY had issued and in effect a
policy of liability insurance in favor of defendant, NISSAN, insuring against the risk of accidents
such as the one complained of. As liability insurer of said defendant, said insurer is jointly,
severally and solidarily liable and responsible for the negligence and damages set forth above,

XI

On the date of the accident, XYZ INSURANCE COMPANY had issued and in effect a
policy of liability insurance in favor of defendant, GRACO, insuring against the risk of accidents
such as the one complained of, As liability insurer of said defendant, said insurer is jointly,
severally and solidarily liable and responsible for the negligence and damages set forth above.

XII,
NISSAN and GRACO, are jointly, severally, solidarily and vicariously liable and

responsible to petitioners for the acts and/or omissions of negligence and damages cause by its

Page 4 of 7

 

 

 
 

East Baton Rouge Parish Clerk of Court } Page 5 of 6

employees, during the course and scope of said employee(s)’ employment,
XIV.

The defendants, NISSAN and ABC INSURANCE COMPANY are jointly, severally,
solidarily and vicariously liable and responsible to petitioner for the negligence and damages set
forth above, |

XV.

The defendants, GRACO and XYZ INSURANCE COMPANY are jointly, severally,
solidarily and vicariously liable and responsible to petitioner for the negligence and damages set
forth above. .

XVI.

Petitioners further specifically pleads the doctrine of res ipsa Joquitur in that the accident
and injuries and damages would not have occurred in absence of the negligence of and/or the
NISSAN and GRACO defect in the design and/or manufacture of the vehicle and/or car seat. .

XVI.

Petitioners reasonably and in good faith alleges the claims herein exceed the amount

requisite for a jury trial.

WHEREFORE, petitioner prays that defendants NISSAN NORTH AMERICA
INCORPORATED, GRACO CHILDREN’S PRODUCT INCORPORATED, ABC
INSURANCE COMPANY and XYZ INSURANCE COMPANY be cited and served and that
after due proceedings are had there be judgment in favor of petitioners DEVORA KNIGHT on
behalf of her minor children, LAMOND ROBINSON, MONTRELL ROBINSON, ANDREW
CAPLING, and TALER MATLOCK, and against the above-named defendants, jointly, severally,
solidarily and vicariously for such sums as are reasonable in the premises together with legal

interest thereon from date of judicial demand until paid and for all costs of these proceedings.

Page 5 of 7

 

 

 
 

East Baton Rouge Parish Clerk of Court

AND FOR ALL GENERAL EQUITABLE RELIEF.

AND THAT ALL EXPERT WITNESS FEES BE TAXED AS COSTS OF COURT,

PLEASE SERVE:

NISSAN NA INCORPORATED
Through its agent for service of process
CSC OF ST, TAMMANY PARISH, INC.
4600 HIGHWAY 22, SUITE 9
MANDEVILLE, LA 70471

GRACO CHILDREN’S PRODUCT INC.

Through its agent for service of process
Louisiana Secretary of State

8585 Archives

Baton Rouge, Louisiana 70809

    

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tfully submitted,

7 LORI D. BROWN (27190)
Attorney for Petitioners

2924 BRAKLEY DRIVE-STE Al1-2 |

Page 6 of 7

BATON ROUGE, LA 70816
TELEPHONE 225-292-6994
FAX 225-291-6919

 

Page 6 of 6

 

 
 

BHF Page 1 of 2

CITATION

(Defendant)

East Baton Rouge Parish Clerk of Court

2302-18-003676 *

DEVORA KNIGHT ON BEHALF ofr WER MINOR

CHILDREN, LAMOND ROBINSON,
MONTRELL ROBINSON, ANDREW _ NUMBER C639202 SECTION 26
! CAPLING, AND TALER MATLOCK th
(Plaintit) 19" JUDICIAL DISTRICT COURT
VS. PARISH OF EAST BATON ROUGE
NISSAN NORTH AMERICA STATE OF LOUISIANA
INCORPORATED, ET AL

TO; NISSAN NORTH AMERICA INCORPORATED
THROUGH ITS AGENT FOR SERVICE OF PROCESS
CSC OF ST. TAMMANY PARISH, INC.
4600 HIGHWAY 22 SUITE 9
’ MANDEVILLE, LA 70471

GREETINGS:

Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
sued for.

You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer-or other legal pleading in the office of the Clerk of Court at

300 North Boulevard; Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further

  
 

 

    
  

 
  
 

 

       

 

 

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Bw. “etait? Doug Welborn, Clerk of Court
“4 8 Cy . ORO
Requesting Attorgey: LORI D BROWN
*The following documents are attached:
PETITION, REQUSET.FOR NOTICE
SERVICE INFORMATION:
Received onthe ____ “day of , 20__ and on the day of , 20. _ served

on the above named party as follows: ‘
PERSONAL SERVICE: On the party herein named at

DOMICILIARY SERVICE: On the within named by leavin, dhe sayy at his domicile
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(17)639202 - 1.00 -- C/P : ”
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Served PERS on . =
NISSAN NORTH AMERICA INCORPORATED THRU unable to find the within named or » 25
AGENT CSC O at a4 rr
4600 Highway 22, MANDEVILLE “19 o<
Service Date & Time: 5/28/2015 9:14:00AM his day of a =g
on secretary(Kelly) . . * F

. on)
3719 - DHEMING, JUAN, St. Tammany Parish ‘ Deputy Sheriff ~

(OOP) - 2302

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EBR2968774

 

 

 

 

 

 
 

East Baton Rouge Parish Clerk of Court Page 2 of 2

"> POSTED
“JUN 15 2015
Rodney J. Strain, Jr. bl

‘Sheriff St. Tammany PARISH

 

 

 

EAST BATON ROUGE CLERK OF COURT

 

PO BOX 199] DISTRICT COURT
, FOR THE PARISH OF ST. TAMMANY
BATON ROUGE, LA 70821 6/1/2015
Case: (17) 639202 DEVORA KNIGHT ON BEHALF OF HER MINOR CHILDREN, LAMOND ROBINSON,
MONTRELL ROBINSON, ANDREW CAPLING, AND TALER MATLOCK vs NISSAN NORTH
Nbr Date Service Type Charges
1 05/27/2015 Citation & Petition $20.00

NISSAN NORTH AMERICA INCORPORATED THRU AGENT CSC OF ST TAMMANY

Date of Disposition: 05/28/2015 Disposition Type: PERS
ON SECRETARY(KELLY)

C/P
1 05/29/2015 Mileage Charge . $10.20

Date of Disposition: Disposition Type:

Case Total: $30.20

 

Total: $30.20

 

 

Please make check payable to: TO BE RETURNED WITH PAYMENT
Rodney J, Strain, Jr., Sheriff
701 N. Columbia St.
Covington, LA 70433

 

 

 

 

 

 

 

 
Page 1 of 2

 

 

 

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East Baton Rouge Parish Clerk of Court
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JUN 1 5/ L
LORI D. BROWN _.
ATTORNEY AT LAW © [ ]
2924 BRAKLBY DRIVE, SUITE A-2 a
BATON ROUGE, LOUISIANA 70816
TELEPHONE: — (225) 292-6994 DIRECT DIAL: (504) 715-6006
. LBROWN1512@YAHOO.COM

FACSIMILE; = (225) 291-6919

COST OK sf

* June 4, 2015 |
JUN 1.0 2015

VIA FACSIMILE U. S. MAIL
DEPUTY aft i EOURT

EAST BATON ROUGE PARISH CLERK OF COURT

PO Box 1991
BATON ROUGE, LA 70827

RE; DEVORA OBO VS, NISSAN NORTH AMERICA INCORPORATED, ET AL
Suit NQ: 639202 EC: 26

Dear Clerk of Court,
. Per our discussion today, June 4, 2015, please reissue service to the address
below as it pertains to the above referenced matter.

 

— woe

Corporation Service Company
320 Somerulos Street
Baton Rouge, LA 70802-6129

Should you have any questions or concerns, please feel free to contact our office.

Sincerely ’
Angel Ke
Administrative Assistant for

Attorney Lori D. Brown yuc’D CP.
JUN 11 2075

With professional regards, I remain

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HM

 

 

 
 

 

East Baton Rouge Parish Clerk of Court No. 5072
Lori D, BROWN
ATTORNEY AT LAW
2924 BRAKLBY DRIVE, SUITE A-2 ;
BATON ROUGE, LOUISIANA 70816
THLEPHONE: (225) 292-6994 Direct Diat: (504) 715-6006
FACsMiiii: = (225) 291-919 Lyrowni512@yaHOO.cOM

JUNE 22, 2015
VIA FACSIMILE 225-389-3935

BasT BATON ROUGE PARISH CLERK OF Court
PO Box 1991
BATON Roucg, LA 70827

Re: Devora KNIGHT, OBO VS, NISSAN NORTH AMERICA INCORPORATED, ET AL
Suit No.: 639202 Sec: 26 +

Dear Clerk of Court,

Per our discussion today, June 22, 2015, please reissue service on: @iway to the
addyess below as it pertains to the above referenced matter.

Corporation Service Company
320 Somerulos Street
Baton Rouge, LA 70802-6129
Should you have any questions or concerns, please feel free to contact our office.

With professional regards, I remain

 

Angel Celestin
Administrative Assistant for
Attorney Lori D, Brown

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Page 2 of 2

 

 

 

 
 

Page 1 of 1

 

East Baton Rouge Parish Clerk of Court -
2424-15-003962

‘ CITATION

, @efendant)

DEVORA KNIGHT on SEWALF OF HER MINOR

CHILDREN LAMOND ROBINSON,
MONTRELL ROBINSON, ANDREW NUMBER (639202 SECTION 26
CAPLING, AND TALER MATLOCK '
(Plaintiff) 19"* JUDICIAL DISTRICT COURT
VS. PARISH OF EAST BATON ROUGE
NISSAN NORTH AMERICA STATE OF LOUISIANA
INCORPORATED, ET AL

TO: GRACO CHILDREBS PRODUCT INCORPORATED
THROUGH THEIR AGENT FOR SERVICE OF PROCESS:

SECRETARY OF STATE

GREETINGS:
Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
sued for.

You must EITHER do what the petition asks OR, within fifteen (15) days efter you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at

300 North Boulevard, Baton Rouge, Louisiana,

If you do not do what the petition asks, or if you do not file an answer or legal pleading within fifteen
(15) days, a judgment may be rendered against you without further notice.

This citation was issued by thie Clerk of Court for Hast Baton Rouge Parish on 21-MAY-2015.
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A Deputy Clerk of Court for

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Requesting Attorney: LORID BROWN... _ a URNS iS 3 gai
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PETITION,REQUEST FOR NOTICE ano
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his domicile, or anyone legally authorized to represent him. am gene ~
RETURNED: Parish of East Baton Rouge, this day of 20
SERVICE: §
MILEAGE § _ Deputy Sherlff
TOTAL: $ Parish of East Baton Rouge FILED .
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East Baton Rouge Parish Clerk of Court a : Page 1 of 1

2424-15-003962
CITATION

(Defendant)

DEVORA KNIGHT on Besar oF HEA MINOR
CHILDREN LAMOND ROBINSON,
MONTRELL ROBINSON, ANDREW
CAPLING, AND TALER MATLOCK

NUMBER (639202 SECTION 26

19" JUDICIAL DISTRICT COURT

(Plaintiff)

vs. PARISH OF EAST BATON ROUGE
NISSAN NORTH AMERICA STATE OF LOUISIANA
INCORPORATED, ET AL .

 

TO: GRACO CHILDREBS PRODUCT INCORPORATED
THROUGH THEIR AGENT FOR SERVICE OF PROCESS:

SECRETARY OF STATE

GREETINGS:

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300 North Boulevard, Baton Rouge, Louisiana.

If you do not do what the petition asks, or if you do not file an answer or legal pleading within fifteen
( 15) days, a judgment may be rendered against you without further notice.

This citation was issued by the Clerk of Court for East Baton Rouge Parish on 21-MAY-2015.
ss is Whe, b, Quutusha Tawi Payton

  
 

se, Deputy Clerk of Court for
EeDoug Welborn, Clerk of Court

! Requesting Attorney: LORI D BROWN

Also attached are the following documents:
PETITION,REQUEST FOR NOTICE

SERVICE INFORMATION:

Recelved on the day of. 20 and on the day of, 20 , served

on the above named party as follows:

SECRETARY OF STATE: By tendering samo to the within named, by handing same to

DUE AND DILIGENT: After diligent search and inquiry, was unable to find the within named __or

his domicile, or anyone legally authorized to represent him,

 

 

RETURNED: Parish of East Baton Rouge, this day of »20
SERVICE: $

MILEAGE $ _ Deputy Sheriff,
TOTAL; $ Parish of East Baton Rouge

‘CITATION ~ 2424

 

 

 

 

 

EBR2957599

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East Baton Rouge Parish Clerk of Court ° Page 1 of 1

2302-15-003676 = « !

CITATION

(efendant)

DEVORA KNIGHT ON sear oF HER MINOR .

CHILDREN, LAMOND ROBINSON,

MONTRELL ROBINSON, ANDREW NUMBER C639202 SECTION 26
CAPLING, AND TALER MATLOCK

(Plaintiff) 19" JUDICIAL DISTRICT COURT
vs. PARISH OF EAST BATON ROUGE
NISSAN NORTH AMERICA STATE OF LOUISIANA
INCORPORATED, ET AL

TO; NISSAN NORTH AMERICA INCORPORATED
THROUGH ITS AGENT FOR SERVICE OF PROCESS
CSC OF ST, TAMMANY PARISH, INC.
4600 HIGHWAY 22 SUITE 9
MANDEVILLE, LA 70471

GREETINGS:
Attached to this citation is a certified copy of the petition’, The petition tells you what you are being
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300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further

notice.
This citation was issued by the Clerk of Court for East Baton Rouge Parish on 21-MAY-2015,

 

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Requesting Attorney: LORI D BROWN

*The following documents are attached:
PETITION, REQUSET FOR NOTICE

SERVICE INFORMATION:

Received on the day of ,20___ and onthe
on the above named party as follows:
PERSONAL SERVICE: On the party herein named at

day of , 20 Served

 

DOMICILIARY SERVICE: On the within named , by leaving the same at his domicile
a person of suitable age and discretion residing in the said.domicile at

In this parish in the hands of :

DUE AND DILIGENT: After diligent search and inquiry, was unable to find the within named or

his domicile, or anyone legally authorized to represent him.

 

 

RETURNED: Parish of this . day of 120
SERVICE; $

MILEAGE $ Deputy Sheriff

TOTAL; $

CITATION (OOP) - 2302

 

 

 

 

EBR2957595

 

 
 

 

 

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East Baton Rouge Parish Clerk of Court

DOUG WELBORN, CLERK OF COURT
19" Judicial District Court
Parish of East Baton Rouge
300 North Boulevard
Baton Rouge, LA 70801
Phone (225)389-3960

NO, ©C639202 SECTION 26 21-MAY-2015
TO: ST TAMMANY PARISH SHERIFFS OFFICE

PO BOX 1120
COVINGTON, LA 70434

Please find attached (1) CITATION to be served in your parish for the above numbered suit.

Kindly make your retum(s) on the duplicate(s) enclosed, and

as note the enclosed check for payment of service;
X send us your bill for service;
a note that this is a pauper suit and no funds are available; or
ut note that this is a government suit arid no funds are necessary.
Thank You,
oul,

 

Requesting Attorney: LORI D BROWN

 
   

 

 

REPLY: DATE:

 

 

 

 

 

By:

 

Deputy Sheriff, Parish of

Letter to Out Of Parish Sherlif - 5213

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Page 1 of 1

 

 
 

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East Baton Rouge Parish Clerk of Court

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DEVORA KNIGHT on Behalf of her Minor Children NO. DIV,
LAMOND ROBINSON,MONTRELL ROBINSON,
ANDREW CAPLING, and TALER MATLOCK 19T™ JUDICIAL DISTRIST COURT
VERSUS
EAST BATON ROUGE PARISH

NISSAN NORTH AMERICA INCORPORATED,
ABC INSURANCE COMPANY
GRACO CHILDREN’S PRODUCT INCORPORATED
XYZ INSURANCE COMPANY STATE OF LOUISIANA
FILED:

DEPUTY CLERK

REQUEST FOR NOTICE

Pursuant to Article 1572 of the Louisiana Code of Civil Procedure, we hereby request
written notice of the date set for trial of the above-numbered and entitled cause, or of the date set
for trial of any pleading or motions therein, at least ten (10) days before any trial date.

We also request notice of signing of any final judgment or of the rendition of any

interlocutory order or judgment in said cause as provided by Articles 1913 and 1914 of the

Louisiana Code of Civil Procedure.

R tfully submitted,

 

~  LORI’D. BROWN (27190)
Attorney for Petitioners

2924 BRAKLEY DRIVE-STE AIl-2
BATON ROUGE, LA 70816
TELEPHONE 225-292-6994

FAX 225-291-6919

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EAST BATON ROUGE PARISH. s

 

Page 7 of 7

 

Page 1 of 4

 

 
 

East Baton Rouge Parish Clerk of Court

Page 1 of 11

xk Transmit Conf.Report *x

 

 

 

 

 

 

 

 

 

 

 

 

 

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CLERK OF COURT Baton Rese LA 70821-1091
: Telephone: (225) 389-3982
PARISH OF EAST BATON ROUGE ee rery
FROM: SUIT ACCOUNTING DEPARTMENT DATE May 8, 2015

FAXNUMBER! (225) 389-3392
TO: LORIGROWN

DEVORA KNIGHT

SUITNO.;: 639202

SECTION! 26

rr

vs WISSAN NORTH AMERICA

item(s) Recelved: PETITION FOR DAMAGES

Total Amount Due (includesall applicable fees below) $ 652.00

The Clerk of Court's Office has recelved, by facsimile transmission dated 5-86-15
referenced case, In accordance with R.S, 13:850(8), within seven days, exclusive of legal holidays, the party filing the document

shall forward to the clerk, the orlginal signed

alsa required of forme pauperis filings and filings by state/political subdivisions.

Applicable fees are established In accordance with law os follows:
13:850(B)3) A transmission fee of five dollars
T3:B41{A)2)@) Flist page of each pleading, six dollars

13:841(A)(2)(b) Each subsequent page, four dollers,
13:84 1(A)[2(c} Paper-exhibits, attachments, transcr

, document(s) in the above

Ipts and depositions-per page, two dollars

13:841(A){4)(b) Issuing document without notice of service, fifteen dollars (Receipt generation fer)

document, appikable fillng fees and a transmission fee, The fox transmission fee Is

 

 

Deputy Gherk ef Court for
Doug Welborn, Clark of Court

JOHN SWEARINGEN

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East Baton Rouge Parish Clerk of Court Page 2 of 11
DO U G W E L BO R N Suit Accounting Department
P, 0. Box 1991
CLERK OF COURT Baton Rouge, LA 70821-1991
Telephone: (225) 389-3982
Fax: (225)389-3392
PARISH OF EAST BATON ROUGE wwweebrclerkofcourtorg
i
FAX RECEIPY
i FROM: SUIT ACCOUNTING DEPARTMENT DATE: May 8, 2015
FAX NUMBER: (225) 389-3392 SUITNO.: 639202
TO: LORI BROWN SECTION: 26
DEVORA KNIGHT vs NISSAN NORTH AMERICA

 

Item(s) Received; PETITION FOR DAMAGES

Total Amount Due (includes all applicable fees below) $ 652.00

The Clerk of Court's Office has received, by facsimile transmission dated 58-15 , document(s) in the above

referenced case, In accordance with R.S, 13:850(B), within seven days, exclusive of legal holidays, the party filing the document
shall forward to the clerk, the original signed document, applicable filing fees and a transmission fee. The fax transmission fee is
also required of forma pauperis filings and filings by state/political subdivisions,

Applicable fees are established in accordance with law as follows:

13:850(B){3) A transmission fee of five dollars

13:841(A}(2)(a) First page of each pleading, six dollars

13:841(A)(2)(b) Each subsequent page, four dollars

13:841(A)(2)(c) Paper-exhibits, attachments, transcripts and depositions-per page, two dollars
13:841(A)(4)(b) _Issulng document without notice of service, fifteen dollars (Recelpt generation fee)

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LEASE NOTIFY T

 

Deputy Clerk of Court for
Doug Welborn, Clerk of Court

JOHN SWEARINGEN
(Type Name)

Sult Accounting Dept. Form #6
Rev, 08/26/14

 

 

 

 
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East Baton Rouge Parish Clerk of Court Page 3 of 11

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DOUG WELBORN suf Aceounring Department

 

 

 

 

 

 

CLERK OF COURT baton Peage LA 70821-1991
Telephone: (225) 389-3982
PARISH OF EAST BATON ROUGE wen eteteroteourvorg

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FAXNUMBER: (223) 389-3392 SUITNO.: 639202

To: LORI BROWN SECTION: 26

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Deputy Clerk of Court for
Doug Welborn, Clark of Court

JOHN SWEARINGEN
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LORI D. BROWN,
ATTORNEY AT LAW L.L.C.

BATON ROUGE, LOUISIANA 70816

 

 

 

 

2924 BRAKLEY SUITE Ai-2
P.O. BOX 77065 BATON ROUGE, LOUISIANA 70679
TELEPHONE: (225)~292-6994 PAX: (225) 292-6919
Ibrownl1512@YAHOO.COM
FAX COVER SHEET
TO: CLERK OF COURT FROM: Lori D. Brown
FAX: 225-389-3392 FAX: 225-291-6919
PHONE: 225-389-3960 PHONE: 225-292-6994
SUBJECT: NEW SUIT DATE: May 8, 2015
PETITION FOR DAMAGES

DEVORA KNIGHT et al V. NISSAN NA et al

 

Please FAX FILE the attached NEW SUIT-PETITION FOR
DAMAGESand provide invoice for cost. If there are any
questions please contact my office.

Thank you.

Sincerely,

Sori D. Brown

Lori D, Brown
Attorney at Law

 

 

CONFYDENTIALITY NOTICE: THIS ENTIRE FACSIMFLE TRANSMISSION MAY CONTAIN CONFLORNTIAL INFORMATION SELONGING TO THE
BENDER OR ADDRESSEE, WAICH I9 GOVERNKO BY THE LOUISIANA PATVACY STATUTES, THE INFORMATION <5 {HTENDED FOR TAE ADDAUSYEE
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Dareluad May 8 2016 03:26pm
East Baton Rouge Parish Clerk of Court No. 4803 P.2

_ "DEVOR'A KNIGHT on Behalf of her Minor Children NO. DIV.
LAMOND ROBINSON,MONTRELL ROBINSON,
ANDREW CAPLING, and TALER MATLOCK 197 JUDICIAL DISTRIST COURT

 

VERSUS
EAST BATON ROUGE PARISH

NISSAN NORTH AMERICA INCORPORATED,

ABC INSURANCE COMPANY

GRACO CHILDREN’S PRODUCT INCORPORATED

XYZ INSURANCE COMPANY STATE OF LOUISIANA

FILED:
DEPUTY CLERK

PETITION FOR DAMAGES

The following named party is petitioner herein, to-wit:

DEVORA KNIGHT (HEREINAFTER KNIGHT) a person of full age and majority and
domiciled in EAST BATON ROUGE, Louisiana; as Natural Tutrix of LAMOND ROBINSON
and MONTRELL ROBINSON and as Legal Guardian of ANDREW CAPLING, and TALER
MATLOCK.

1.

The following named parties are made defendants berein, to-wit:

(2) NISSAN NORTH AMERICA INCORPORATED, (HEREINAFTER NISSAN) a
foreign corporation authorized to do and doing business in the State of Louisiana in its
capacity as MANUFACTURER; who can be served with process through its Agent for
service of process Louisiana Secretary of State, 8585 Archives, Baton Rouge,
Louisiana 70809; pursuant to La R. S. 13: 3474 et. seq.;

(b) ABC INSURANCE COMPANY, a foreign insurance corapany authorized to do
and doing business in the State of Louisiana in its capacity as insurer for NISSAN
NA INCORPORATED, who can be served with process through its Agent for
service of process CSC OF ST. TAMMANY PARISH, INC., 4600 HIGHWAY 22,

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SUITE 9, MANDEVILLE, LA 70471;
(c) GRACO CHILDREN’S PRODUCT INCORPORATED (HEREINAFTER, 3

GRACO) a foreign corporation authorized to do and doing business in the State of ~

Louisiana in its capacity as MANUFACTURER; who can be served with process’
through its Agent for service of process Louisiana Secretary of State, 8585

Archives, Baton Rouge, Louisiana 70809; pursuant to La R. S. 13: 3474 et. seq.;
Page 1 of 7

Page 5 of 11

 

 

 
 

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East Baton Rouge Parish Clerk of Gourt fy 8 2018 03:26pm No. 4803. 3 Page 6 of 11

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(d) XYZ INSURANCE COMPANY, a foreign insurance company authorized to do
and doing business in the State of Louisiana in its capacity as insurer for GRACO,
who can be served with process through its Agent for service of process Louisiana
Secretary of State, 8585 Archives, Baton Rouge ,Louisiana 70809; pursuant to La.
R. S. 13: 3474 et, seq.; aud

IL

The above named defendants are jointly, severally, and solidarily liable to petitioner as a
result if the following:

I,

This action arises out of an incident occurring in Baton Rovge, Louisiana, East Baton
Rouge Parish, on or about May 10, 2014.

IV.

Petitioner, Devora Knight was operating her 2007 Infiniti Q56 on Interstate -10 near the
intersection of LA 3246, when due to io climate weather conditions, Petitioner's veticle left the
roadway and hit a utility pole. Petitioner's minor children, LAMOND ROBINSON,
MONTRELL ROBINSON, ANDREW CAPLING, and TALER MATLOCK were guest
passengers in the vehicle. During the single care collision all of the children were injured and
transported to Our Lady of the Lake Hospital with varying degrees of injuries caused by the crash.

Vv.

Petitioner, KNIGHT alleges that her 2007 Infiniti Q56 side impact reinforcement/brace did
not respond properly to the crash and failed to restrain minor children and prevent them from being
thrown about in the interior of the vehicle and causing injuries to them. Petitioner KNIGHT also
allege that the floor structure of her vehicle buckled causing her minor son, LAMOND ROBISON
to be violently thrown about the vehicle. Petitioner, KNIGHT alleges her 2007 Infiniti Q56’s
failure to properly withstand the impact caused severe injuries to her minor children individually

aud collectively, -

. Vi,
As a result of the above accident, petitioner, KNIGHT'S minor children, suffered and

continues to suffer multiple personal, psychological and emotional injuries of a past, present and

continuing nature.

Page 2 of 7

 

 

 
 

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Vu.

Petitioner, KNIGHT’s minor children, have undergone medical treatment since the

accident and will undergo further medical treatment, Petitioner's minor children were and are

still limited from their normal activities.

Vil.

The sole and proximate cause of the injuries and damages sustained by petitioner's minor

children, was the joint, concurrent, successive, solidary, and/or several negligence of the

defendant(s) NISSAN and GRACO CHILDREN’S PRODUCT INCORPORATED, and/or the

negligence of its/their agents and employees, for whom it is/they are vicariously liable, which

negligence consisted of the following acts and/or omissions, to-wit;

a)
b)
°)
a)

e)
f)

B)

h)

j)

k)

1)

m)

failure to discover the defect, dangerous condition of the vehicle and/or car seat;
failure to properly design vehicle and/or car seat;
defective manufacturing vehicle and/or car seat;

use of improper and/or defective materials in the manufacture vehicle and/or car
seat; '

failure to warn purchasers of the defects in the vehicle and/or car seat ;

failure to properly wam users/puxchasers of how to safely use the vehicle and/or car
seat;

failure to properly manufacture vehicle and/or car seat with materials strong
enough to perform the function for which vehicle and/or car seat was sold and
designed;

failure to properly inspect the vehicle and/or cax seat for defects;

failure to properly test the vehicle and/or car seat to determine whether the vehicle
and/or car seat was/were adequate and safe in construction and/or design;

distributing a vehicle and/or car seat, when the manufacturer knew or should have
known of the defective condition;

retailing the vehicle and/or car seat when the manufacturer knew or should have
known of the defective condition;

failure to warm the buyers of the defect/dangerous condition in the vehicle and/or
car seat; and .

other negligence which may be proven at trial of this matter.

x,

_ Petitioner, KNIGHT, itemizes her minor children's damages individually and collectively

to which they are entitled as a result of the accident and injury proximately caused by the above

Page 3 of 7

Page 7 of 11

 

 

 
 

 

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East Baton Rouge Parish Clerk of Court No. 4803. 5 Page 8 of 11

- described negligence of defendant(s) NISSAN and GRACO, as follows, to-wit:

a) Past physical pain, suffering and discomfort

b) Past mental anguish, aggravation and annoyance

c) _ Disability

d) —- Future physical pain, suffering and discomfort

e) Future mental anguish, aggravation and annoyance

f) Past medical expenses

g) Future medical expenses

h) Attomey fees

i) Loss of enjoyment of life

dD Loss of use/function of parts of body

k) Bodily disability

D Impairment of psychological functioning

m) Disability from engaging in recreation

‘ X.
Petitioner strictly reserves the right to amend and supplement this petition as necessary
conceming damages.
XI.
On the date of the accident, ABC INSURANCE COMPANY had issued and in effect a
’ policy of liability insurance in favor of defendant, NISSAN, insuring against the risk of accidents
such as the one complained of. As liability insurer of said defendant, said insurer is joindy,
severally and solidarily liable and responsible for the negligence and damages set forth above.
XI.

On the date of the accident, XYZ INSURANCE COMPANY had issued and in effect a
policy of liability insurance in favor of defendant, GRACO, insuring against the risk of accidents
such as the one complained of. As liability insurer of said defendant, said insurer is jointly,
severally and solidarily liable and responsible for the negligence and damages set forth above,

XI.
NISSAN and GRACO, are jointly, severally, solidarily and vicariously liable and

responsible to petitioners for the acts and/or omissions of negligence and damages cause by its

Page 4 of 7

 

 

 
 

 

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‘employees, during the course and scope of said employee(s)’ employment.

XIV.

_ The defendants, NISSAN and ABC INSURANCE COMPANY are jointly, severally,
solidarily and vicariously liable and responsible to petitioner for the negligence and damages set
forth above. .

. XV.

The defendants, GRACO and XYZ INSURANCE COMPANY are jointly, severally,
solidarily and vicariously liable and responsible to petitioner for the negligence and damages set
forth above. ,

; XVI.

Petitioners further specifically pleads the doctrine of yes ipsa loquitur in that the accident
and injuries and damages would not have occurred in absence of the negligence of and/or the
NISSAN and GRACO defect in the design and/or manufacture of the, vehicle and/or car seat.

XVI.

Petitioners reasonably and in good faith alleges the claims herein exceed the amount

requisite for a jury trial.

’ WHEREFORE, petitioner prays that defendants NISSAN NORTH AMERICA
INCORPORATED, GRACO CHILDREN’S PRODUCT INCORPORATED, ABC
INSURANCE COMPANY and XYZ INSURANCE COMPANY be cited and served and that
after due proceedings are bad there be judguacnt in favor of petitioners DEVORA KNIGHT on
behalf of her minor children, LAMOND ROBINSON, MONTRELL ROBINSON, ANDREW
CAPLING, and TALER MATLOCK, and against the above-named defendants, jointly, severally,
solidarily and vicariously for such sums as are reasonable in the premises together with legal

interest thereon from date of judicial demand until paid and for all costs of these proceedings.

Page 5 of 7

Page 9 of 11

 

 

 
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| East Baton Rouge Parish Clerk of Court
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"AND FOR ALL GENERAL EQUITABLE RELIEF.
AND THAT ALL EXPERT WITNESS FEES BE TAXED AS COSTS OF COURT.

    

LORI D. BROWN (27190)
Attorney for Petitioners
2924 BRAKLEY DRIVE-STE Al-2
BATON ROUGE, LA 70816
TELEPHONE 225-292-6994

FAX 225-291-6919

PLEASE SERVE:

NISSAN NA INCORPORATED
Through its agent for service of process
CSC OF ST. TAMMANY PARISH, INC.
4600 HIGHWAY 22, SUITE 9
MANDEVILLE, LA 70471 .

GRACO CHILDREN’S PRODUCT INC.
Through its agent for service of process
Lovisiana Secretary of State

™ 8585 Archives
: Baton Rouge, Louisiana 70809

  

‘DEPUTY CLERK OF COURT

  

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» DEVORA KNIGHT on Behalf of her Minor Children “NO.
LAMOND ROBINSON,MONTRELL ROBINSON,
19™ JUDICIAL DISTRIST COURT

ANDREW CAPLING, and TALER MATLOCK
VERSUS
mo EAST BATON ROUGE PARISH
NISSAN NORTH AMERICA INCORPORATED,
ABC INSURANCE COMPANY
GRACO CHILDREN’S PRODUCT INCORPORATED
XYZ INSURANCE COMPANY STATE OF LOUISIANA
FILED:
DEPUTY CLERK
REQUEST FOR NOTICE
Pursuant to Article 1572 of the Louisiana Code of Civil Procedure, we hereby request
written notice of the date set for trial of the above-numbered and entitled cause, or of the date set |
for trial of any pleading or motions therein, at least ten (10) days before any trial date.
We also request notice of signing of any final judgment or of the rendition of any

interlocutory order or judgment in said cause as provided by Articles 1913 and 1914 of the

Louisiana Code of Civil Procedure,

Ry tfully submitted,

 

"LORD, BROWN (27190)
Attomey for Petitioners

2924 BRAKLEY DRIVE-STE Al-2
BATON ROUGE, LA 70816
TELEPHONE 225-292-6994

FAX 225-291-6919

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